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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 7

CHRISTMAS TREE SHOPS, LLC., et al.,                        Case No. 23-10576 (TMH)

                                   Debtors.1               (Jointly Administered)


             NOTICE OF RESCHEDULED OMNIBUS HEARING DATE FROM
               NOVEMBER 13, 2023 AT 10:00 A.M. (EASTERN TIME) TO
                 NOVEMBER 27, 2023 AT 11:00 A.M. (EASTERN TIME)

         PLEASE TAKE NOTICE that the omnibus hearing scheduled for November 13, 2023 at

10:00 a.m. prevailing Eastern Time has been rescheduled to November 27, 2023 at 11:00 a.m.

prevailing Eastern Time before the Honorable Thomas M. Horan, United States Bankruptcy

Court Judge, at the United States Bankruptcy Court for the District of Delaware, 824 North

Market Street, 5th Floor, Courtroom No. 6, Wilmington, Delaware 19801. All matters scheduled

for the November 13, 2023 hearing are rescheduled to the November 27, 2023 hearing.

Dated: October 11, 2023                   PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ Peter J. Keane
                                          Bradford J. Sandler (DE Bar No. 4142)
                                          Colin R. Robinson (DE Bar No. 5524)
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                                          Counsel to George L. Miller, Chapter 7 Trustee


1
    The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
    as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
    Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).

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